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IN THE UNITED STATES DISTRICT CdU§T“
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FOR THE EASTERN DISTRICT oF TEfii`s `*`:

 

MARSHAL DIVISION

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TROY CLARK, §
Petitioner §
Vs. § CIVIL ACTION NO. 2:03cv357
DOUG DRETKE, Director §

Texas Department of
Criminal Justice, Correctional §
Institutions Division

Respondent §

PETITION FOR WRIT OF HABEAS CORPUS
BY A PERSON SENTENCED TO DEATH CURRENTLY IN STATE CUSTODY

 

TO THE HONORABLE JUDGE T. JOHN` WARD, UNITED STATES DISTRICT
COURT, EASTERN DISTRICT OF TEXAS, MARSHALL DIVISION:

TROY CLARK, Applicant, by and through his appointed
attorney of record, Craig L. Henry, files this Petition for Writ
of Habeas Corpus and in support shows the following:
I. JURISDICTION
Petitioner invokes the jurisdiction of this Court pursuant
to 28 U.S.C. Section 2254.
II. CUSTODY

1. Petitioner is a citizen_ of the United States and a

resident of the State of Texas. He is presently

confined in Respondent’s custody on Death Row in the

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Terrell Unit of the Texas Department of Corrections in
Livingston, Texas, pursuant to a judgment of
conviction and sentence of death.

2. Petitioner is indigent and is unable to pay the fees
and costs of this action or to give security
therefore.

III. HISTORY OF PRIOR PROCEEDINGS

3. Petitioner was charged and indicted by a Smith County
grand jury with the offense of capital murder arising
out of the death of Christina_ Muse alleged. to have
occurred on or about May 19, 1998. On March 23, 2000,
the jury rendered a verdict of guilty to the offense
of capital murder.

4. On March 30,2000, the jury returned a verdict on the
special issues and the trial court sentenced Applicant
to death.

5. On April 24, 2002, Petitioner undertook a direct
appeal in cause number 73,816 to the Texas Court of
Criminal Appeals. The judgment and sentence of the
trial court was affirmed in an unpublished opinion
rendered on November 25, 2002. Clark v. State, 73,816
(Tex. Crinn App. November‘ 25, 2002) (not designated

for publication)

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6. On July 25, 2002, Petitioner filed his Application for
Writ of Habeas Corpus under Article 11,071, Texas Code
of Criminal Procedure. This Writ raised substantial
issues of constitutional dimension which were not
litigated in the trial court nor raised by any
evidentiary hearing prior to the filing of said
Application for Writ of Habeas Corpus under‘ Article
11.071, TeXas Code of Criminal Procedure.

7. On January 7, 2003, the trial court entered an order
refusing to hold an evidentiary hearing on
Petitioner’s Application.

8. On May 2, 2003, State District Judge Kerry L. Russell
issued his findings of fact and conclusions of law
recommending that Petitioner’s Application for Writ of
Habeas Corpus be denied. Those findings and
conclusions were summary in nature and superficial in
depth. Such findings are open to review on collateral
attack in federal court. Judge Russell’s findings of
fact fail to address many of the legal issues or new
evidence attached as exhibits to the Application.

9. Although the factual findings that were entered by
Judge Russell might otherwise be otherwise presumed
correct by 'virtue of 28 U.S.C. §2254(d), Petitioner

will demonstrate that such factual findings are not

 

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fairly supported by the trial record, upon which Judge
Russell's findings in large part rely. Such
presumption of correctness therefore cannot lie under
28 U.S.C. § 2254 (d) (8).
lO. On October l, 2003, the Texas Court of Criminal
Appeals denied Petitioner's Writ of Habeas Corpus.
§§§ §§ parte §lark, No. WR-55,996-Ol (Tex. Crim. App.
October l, 2003). This is Petitioner's first Petition
for Writ of Habeas Corpus filed with this Court.
IV. EXHAUSTION OF STATE REMEDIES
ll. Petitioner presents claims in this Application for
Writ of Habeas Corpus that are of constitutional
dimension and that have been denied by the convicting
court and by the Texas Court of Criminal Appeals.
V. BASIS OF THIS APPLICATION
l. Counsel Failed to Investigate or Present Evidence
Which Would Have Mitigated Against the Imposition
of the Death Penalty.
Background
The principle ground upon which counsel rendered
ineffective assistance to Mr. Clark involves trial counsel's
failure to investigate and develop facts material to Mr. Clark's
punishment. Counsel failed 133 investigate me Clark's family
background, or his social, medical and mental history. Mr.

Clark's trial counsel could have investigated and presented a

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wealth of evidence relevant to such mitigating factors at trial,
but failed to do so.

The Texas state trial court’s decision in Petitioner’s case
is irreconcilable with the Supreme Court’s recent decision in
wiggins v. amith, 123 s. ct. 2527, 156 L.sa.:za 471 (2003) ana is
accordingly an objectively unreasonable application of
Strickland v. Washington, 466 U.S. 668 (1984), in light of
Wiggins. In Wiggins, the petitioner’s attorneys failed to
investigate and present mitigating evidence of his “dysfuntional
background” despite having some information available to them in
a presentence investigation report and social service records.
These indicated that the petitioner had suffered severe physical
and sexual abuse as a child, had an alcoholic mother, and was
borderline retarded. with. an IQ lof 79. See Wiggins at 2532,
2536. The Supreme Court held that, under Strickland, the
concern was not whether “counsel should have presented a
mitigation case” but “whether the investigation supporting
counsel's decision not to introduce mitigating evidence of

Wiggins' background was itself unreasonable.” Id. at 2536. The

 

Court concluded that, given the information in the presentence
report and the social services reports, counsel's decision not
to expand the investigation into Wiggins’ life history fell
short of professional standards, id. at 2536-38, and that

Wiggins was prejudiced by counsel's failure.

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“[I]n the context of a capital sentencing proceeding,

defense counsel has the obligation to conduct a ‘reasonably

substantial, independent investigation’ into potential
Hdtigating circumstances.” AEal v. Puckett, 286 F.3d 230, 236
(5th Cir. 2002) (citation omitted). “In assessing counsel's

performance, we look to such factors as what counsel did to
prepare for sentencing, what mitigating evidence he had
accumulated, what additional ‘leads’ he hadir and what results he
might reasonably have expected from these leads.” Id. at 237.
The focus of this inquiry is “not whether counsel should have
presented a mitigation case,” but “whether the investigation
supporting counsel's decision not to introduce mitigation
evidence ... was itself reasonable.” Wiggins at 2536.

In the present case, Petitioner’s trial counsel did not
conduct a reasonable investigation. Attached hereto as Exhibits
1-3 are the itemized statements submitted by Petitioner's trial
counsel and their investigator for services rendered in relation
to representation of Petitioner. The statements of Petitioner’s
trial attorneys reflect that no time was spent in investigation
of a mitigation case. The investigator's billing records
reflect that on March 27, 2000, the date Petitioner’s punishment
case began, he spent four (4) hours “attempt[ing] to locate and
interview Troy Clark family members as witness's in punishment

trial,” and that on the following day, he “contacted family

 

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members of Troy Clark and names of witness’s Clark provided to
attorneys and investigator for punishment trial.” Finally, the
investigator’s billing reflects that the day before the jury
answered the special issues in a manner requiring imposition of
a death sentence, the investigator “traveled to Smith_ County
Jail met with Lt. Folmer reference witness’s at jail for Troy
Clark including jailers Clark wanted to call as character
witness’s for him” and that “Lt. Folmer advised no jailer would
be allowed to testify in behalf of Clark.”

Standard practice in Texas capital cases at the time of
Petitioner’s trial included the preparation of a social history
report. Petitioner’s trial counsel never sought funds to retain
a forensic social worker. As such, their conduct fell short of
the American Bar Association's capital defense work standards.
The ABA Guidelines provide that investigations into Hdtigating
evidence “should comprise efforts to discover all reasonably
available mitigating evidence and evidence to rebut any
aggravating evidence that may be introduced by the prosecutor.”
ABA Guidelines for the Appointment and Performance of Counsel in
Death Penalty' Cases 11.4.1(€), p. 93 (1989) (emphasis added)
Despite these well-defined norms, however, Petitioner's counsel
failed to conduct any investigation of Petitioner’s background.
Cf. id., 11.8.6, p. 133 (noting that among the topics counsel

should consider presenting are medical history, family and

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social history, prior adult and juvenile correctional
experience, and religious and cultural influences) (emphasis
added); 1ABA Standards for Criminal Justice 4~4.1, commentary,
p. 4-55 )”The lawyer also has a substantial and important role
to perform in raising mitigating factors both to the prosecutor
initially and to the court at sentencing ....Investigation is
essential to fulfillment of these functions”).

Although an evidentiary hearing is required to fully
develop this evidence, facts known at this time showing the
existence of additional mitigating factors are detailed in the
accompanying affidavit of Cleta Barrington, Mr. Clark's mother,
attached hereto as Exhibit 4 and incorporated herein by
reference. Mr. Clark's background is marked by family
abandonment, rejection, and substance abuse. Mr. Clark's mother

suffered fron1 a drug addiction, which she often_ supported. by

prostitution. C. Barrington Aff. Par. 3. Thus, virtually from
birth, Mr. Clark was exposed to sexual promiscuity and
insatiable drug usage. As a result of his mother's addiction,

Mr. Clark effectively lost his mother, who was sent to prison on
his first birthday and was repeatedly incarcerated thereafter
for the remainder of Mr. Clark's life. C. Barrington Aff. Par.
3. Not only was Mr. Clark effectively abandoned by his mother,
his father failed to have any parental relationship with him.

C. Barrington Aff. Par. 4. Mr. Clark's only other father

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figures were Mr. Roy Hattaway and Mr. Buddy Hensley. Mr.
Hattaway was an alcoholic and Mr. Hensley often subjected Mr.
Clark to physical abuse. C. Barrigton Aff. Par. 6. To avoid
such abuse, and to avoid placement in foster care, at age 15,
Mr. Clark's mother gave consent for him to marry. As a result,
Mr. Clark was forced to live on his own from the time he was 15
years of age. C. Barrington Aff. Par. 7.

Mr. Clark never had a stable home nor a nurturing familial
relationship as he was constantly moved from home to home. C.
Barrington Aff. Par. 5. Not only did Mr. Clark suffer at home,
he was constantly the subject of torment and ridicule at school.
Mr. Clark was born with a cleft palate, causing speech problems.
C. Barrington Aff. Par. 2.

When Mr. Clark was 20 years of age, his brother, Wilburn
Clyde Clark, Jr., committed suicide by placing a shotgun in his
mouth and pulling the trigger. Mr. Clark had always felt
responsibility for his brother's death because they had fought
the night before the suicide. C. Barrington Aff. Par. 8.

Despite the ready availability of such mitigating evidence,
trial counsel failed to investigate or present this evidence
during the sentencing phase of Mr. Clark's trial. Incredibly,
neither of Mr. Clark's trial attorneys' nor any investigator
working on their behalf, ever contacted Mr. Clark‘s mother to

inquire about Mr. Clark's family history or personal history.

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C. Barrington Aff. Par. 9. Deprived of this evidence, the jury
lacked the information necessary to properly assess whether Mr.
Clark deserved to die. Accordingly, Mr. Clark's trial counsel
clearly rendered ineffective assistance.
Discussion

The purpose of a sentencing hearing is to provide the jury
with the information necessary for it to render an
"individualized sentencing determination . . . {based upon] the
character and record of the individualized offender and the
circumstances of the particular offense. Penry v. Lynaugh, 492
U.S. 302, 316 (1989) (citing Woodson v. Ncrth Carolina, 428 U.S.
280, 304 (1976)); see also Amstrcng v. Dugger, 833 F.2d 1430,
1433 (11th Cir. 1987) ("the major requirement of the penalty
phase of a trial is that the sentence be individualized by
focusing on the particularized characteristics of the
individual.") “The sentencing stage of any case, regardless of
the potential punishment, is 'the time at which for many
defendants the most important services of the entire proceeding
can be performed.'“ Vela v. Estelle, 708 F.Zd 854, 964 (5th Cir.
1983), cert. denied, 464 U.S. 1053 (1984). Where the potential
punishment is death, as in the instant matter, the sentencing
proceeding takes on added importance.

The Supreme Court enunciated a two-prong test for analyzing

an ineffective assistance of counsel claim in Strickland v.

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Washington, 466 U.S. 668 (1984). According to Strickland,
first, the defendant must show that counsel's performance was
deficient. This requires showing that counsel made errors so
serious that counsel was not functioning as the “counsel"
guaranteed by the Sixth Amendment. Second, the defendant must
show that the deficient performance prejudiced the defense.
This requires a showing that counsel's errors were so serious as
to deprive the defendant of a fair trial, a trial whose result
is reliable. Strickland, 466 U.S. at 687.
A. Performance
1. Failure to investigate

It is clear that defense counsel's failure to investigate

the basis of his client's mitigation defense amounts to

ineffective assistance of counsel. See, Wiggins, Id.; Williams

 

V. Taylor, 529 U.S. 362 (2000). When considering a failure to
investigate clainz the Supreme Court has said, “counsel has a
duty to make reasonable investigations or to make a reasonable
decision that takes particular investigations unnecessary. In
any ineffectiveness case, a particular decision not to
investigate must be directly assessed for reasonableness in all
the circumstances, applying a heavy measure of deference to
counsel's judgments." Strickland, 466 U.S. at 691.

Under Strickland, Petitioner must show that his trial

counsel's "acts or omissions" were not "the result of reasonable

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professional judgment." Strickland, 466 U.S. at 690. In the
instant case, trial counsels' failure to conduct an
investigation of Mr. Clark's background and resulting failure to
present nutigating evidence at the sentencing hearing did not
constitute reasonable professional judgment. In preparing for a
death penalty case, "a[n] attorney has a duty to conduct a
reasonable investigation, including an investigation of the
defendant's background, for possible mitigating evidence."
Porter v. Singletary, 14 F.3d 554, 557 (11th Cir.) (citing

Thompson v. Wainwright, 787 F.2d1447, 1450 (llth Cir. 1986), cert

denied, 481 U.S. 1042 (1987). "The failure to do so may render
counsel's assistance ineffective." Baxter‘ v. Thomas, 45 F. 3d
1501, 15l3 (llth Cir.), cert denied, 516 U.S. 946 (1995) .

ln scrutinizing counsel's performance, the courts make

every effort to "eliminate the distorting effects of hindsight."
Strickland, 466 U.S. at 689, and do not assume that counsel's
performance is deficient "merely because we disagree with trial
counsel's strategy." Crane v. thnson, 178 F.3d 309, 312 (5th
Cir. 1999). But with that said, it is indisputable that, in the
context of a capital sentencing proceeding, defense counsel has
the obligation to conduct a "reasonably substantial, independent
investigation" into potential mitigating circumstances. Baldwin
v. Maggio, 704 F.2d 1325, 1332-33 (5th Cir. 1983). In assessing

counsel's performance, a reviewing court should look to such

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factors as what counsel did to prepare for sentencing, what
mitigating evidence he had accumulated, what additional "leads"
he had, and what results he might reasonably have expected from
those leads Neal v. Pucker::;, 236 F. 3a 230 {5th cir. 2002)

In the instant case, trial counsel did not conduct any
interviews of witnesses familiar‘ with. Mr. Clark's background.
They did not retrieve or review “any records having to do with
Mr. Clark's background, medical history, school history, history
of drug use, prior convictions, prior incarcerations, or any
other material relevant to Mr. Clark's history. As a result of
their failure to investigate, they did not uncover or present
evidence of Mr. Clark's absolutely horrendous family history.

(a) Mr. Clark's "refusal" to allow trial counsel
to subpoena his mother and father

lt is anticipated that the State will argue that defense
counsels' failure to investigate for potential mitigating
evidence is somehow excused by the fact that Mr. Clark stated
during the punishment hearing that he did not want his mother or
father to be subpoenaed to testify. RR (57,110) However, this
argument must fail. The affidavit of Mr. Clark's mother clearly
establishes that she had never been contacted by trial counsel
or an investigator employed on their behalf. Trial counsel
could not have possibly known of the substance of her testimony.

Accordingly, they could not have conceivably discussed with Mr.

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Clark, the benefits and disadvantages of calling her to the
stand. Despite Mr. Clark's statement that he did. not want to
call his mother or father to the stand, appellate courts have
repeatedly held that lawyers may not “blindly follow" such
commands. Although the decision whether to use mitigating
evidence is for the client, "the lawyer must first evaluate
potential avenues and advise the client of those offering
possible merit." Thompson v. Wainwright, 787 F.2d at 1451; Dobbs
v. Turpin, 142 F.3d 1383 (11M'Cir. 1998). In other words, such
a course of action “must flow from an informed decision."
Harris v. Dugger, 874 F.2d 756, 763 (11th Cir.), cert denied, 493
U.s. 1011 (1939); souchi.ll@n v. collinsl 907 de 539, 597 (sth
Cir. 1990) (“Tactical decisions must be made in the context of a
reasonable amount of investigation, not in a vacuum.")

Similarly, Strickland does not require deference to those
decisions of counsel that, viewed in light of the facts known at
the time of the decision, do not serve any conceivable strategic
purpose. See Strickland, 104 S. Ct. at 2061 ("Counsel may not
exclude certain lines of defense for other than strategic
reasons." soyle v. Johnson, 93 F.3d 180 (Sth cir. 1996)
(explaining basis for counsel's strategic decision not to offer
mitigating evidence identified by the defendant), cert. denied,
5l9 U.S. 1120 (199'7); LOyd V. Whitley, 977 F.2d 149,158 (5th

Cir.1992} (“whether counsel's omission served a strategic

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purpose is a pivotal point in Strickland and its progeny. The
crucial distinction_ between strategic judgment calls and. just
plain. omissions has echoed in the judgments of this court.")
Profitt V. Waldron, 831 F.2d 1245, 1249 (_"`)th Cir. 1987)
(Strickland does not require deference to decisions which do not
yield any conceivable benefit to the defense); Wilson v. Butler,
813 F.2d 664,672 (5th Cir. 1987) (remanding for evidentiary
hearing because record did not reflect whether counsel made a
strategic decision not to present mitigating evidence of
troubled background and mental impairment); Moore v. Maggio, 740
F.2d 308, 315-19 {5th Cir.1984) (explaining strategic purpose
motivating counsel's decision to limit investigation. by
excluding implausible lines of mitigating evidence.)

Here, counsels' failure to present Hdtigating evidence is
not entitled to deference because it was neither informed by a
reasonable investigation nor supported by any logical position
that such failure would benefit Mr. Clark's defense. "[C]ounsel
has a duty to make reasonable investigations or to make a
reasonable decision that makes particular investigations
unnecessary." Strickland, 104 S. Ct. at 2006. Counsel is "not
required to pursue every path until it bears fruit or until all
conceivable hope withers.“ Lovett v. Piorida, 627 F.2d 706, 708
(SH‘Cir. 1980). But strategic decisions made without an adequate

investigation into the facts and law controlling plausible

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defensive theories are reasonable only to the extent that
reasonable professional judgment supports counsel's limitation
on the investigation. Strickland, 104 S. Ct. at 2066.

To be clear, we are dealing here with counsels' complete,
rather than partial, failure to investigate whether there was
potentially Hdtigating evidence that could be presented during
the punishment phase of Mr. Clark's trial. The fact that trial
counsel never contacted Mr. Clark's mother amply demonstrates a
complete failure to investigate family background as such
contact is perhaps the first made by attorneys in such a
pursuit. The complete failure to search for mitigation
distinguishes this case from those cases in which appellate
courts have rejected similar claims because the record
established counsel conducted an adequate investigation, but
made an informed trial decision not to use the potentially
mitigating evidence because it could have a prejudicial
backlash. See, e.g., Darden V. Wainwright, 477 U.S. 168 (1986)
(counsel's failure to present mitigating evidence relating to
defendant's character, psychiatric evaluation and history as a
family man did not constitute deficient performance where such
evidence would have opened the door to otherwise excluded
evidence that defendant had prior convictions, was diagnosed as
a sociopathic personality, and had in fact abandoned his

family).

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Given that counsels' conduct in failing to develop or
present mitigating evidence was not informed by any

investigation and not supported by reasonably professional

limits upon investigation, there is no strategic decision
entitled to deference. Moreover, there does not appear any
justification for limiting, or in this case, completely
omitting, any investigation into Mr. Clark's background. As

with. counselsl failure to investigate, we are dealing' with a
complete, rather than partial, failure to offer any ndtigating
evidence on Mr. Clark's behalf. Therefore, trial counsels'
failure to investigate and offer any mitigating evidence
relating to Mr. Clark's background was professionally
unreasonable and deficient performance in the context of this
case.

Mr. Clark's lawyers can offer no rational strategic
explanation for their‘ behavior. With. their client's life at
stake, these attorneys quite simply failed. to investigate or
produce the only' evidence that offered a realistic chance of
saving Mr. Clark from execution. Their abject failure stemmed
not from a conscious decision to adopt an alternative strategy,
but from sheer negligence. The Sixth Amendment will not
tolerate such incompetence, particularly when a defendant's life

hangs in the balance.

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B. Prejudice

Without doubt, Mr. Clark has satisfied the first Strickland
requirement by establishing the deficiency of his counsels1
performance at the sentencing hearing. Nonetheless, before Mr.
Clark can prevail on_ his clain\ of ineffective assistance at
sentencing, Strickland also requires that he make a showing of
prejudice. ln order to obtain relief from this court, Mr. Clark
must demonstrate "that there is a reasonable probability that,
but for counsel's error, the result of [his sentencing hearing]
would have been different." Strickland, 466 U.S. at 694. ln
gauging the likelihood of prejudice, the Strickland Court
defined "a reasonable probability" as "a probability sufficient
to undermine confidence in the outcome." Id.

This discussion must begin with a reminder that this ground
focuses on the penalty phase of a capital case. ln this phase,
the jury‘ has considered evidence which_ convinced then1 of the
defendant's guilt and is determining whether the defendant
should live or die. The defense role in the penalty phase is to
present evidence to convince each member of the jury not to vote
to §have the defendant killed. To achieve this goal, defense
counsel should humanize his client, overcome the common
prosecutorial position that the defendant is evil, and to

provide the jury with reasons for the conduct by explaining the

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forces in the defendant's life that could have led up to the
circumstances of murder.

The Eighth Amendment to the Constitution states “Excessive
bail shall not be required, nor excessive fines imposed, nor
cruel and unusual punishments inflicted." ln a capital case, it
requires that the death penalty be appropriate punishment in a
specific case, and that it can only be imposed after adequate
consideration of factors that might warrant mercy. Wbodson v.
Nbrth Carolina, 428 U.S. 280, 305 (1976); California V. Brown,
479 U.S. 538, 554 (1976). Mitigating evidence allows the
consideration_ of "compassionate or rnitigating factors stemming
from the diverse frailties of humankind m [and] constitutionally
indispensable part of the process of inflicting the penalty of
death." Wbodson v. North Carolina, 428 U.S. at 304. See also
Skipper~ v. South Carolina, 476 U.S. 1 (1986). The sentencer
must "not be precluded from considering, as a mitigating factor,
any aspect of a defendant's character or record and any of the
circumstances of the offense that the defendant proffers as a
basis for a sentence less than death." Eddings v. Oklahoma, 455
U.S. 104, 110 (1982), See also Lockett v. Ohio, 438 U.S. 586
(19`78) .

ln determining prejudice, the court is required to compare
the evidence actually presented at sentencing with all the

mitigating evidence contained in the post~conviction record.

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Stated to the point: ls this additional mitigating evidence so
compelling that there is a reasonable probability at least one
juror could reasonably have determined that because of Mr.
Clark‘s reduced moral culpability, death was not an appropriate
sentence?

The sentencing process consists of weighing mitigating and
aggravating factors, and making adjustments in the severity of
the sentence consistent with this calculus. Vela v. Estelle,
708 F.2d 954,965 (Bth Cir. 1983), cert. denied 464 U.S. 1053
(1984). The additional ndtigating evidence has been described
in detail above. lt seems indisputable that this new evidence,
standing alone, presents a hugely sympathetic case for
mitigating a death sentence. The affidavit of Mr. Clark's
mother contains substantial evidence that his childhood was
marked. by' physical and emotional deprivation and abuse. See
Penry' v. Lynaugh, 492 U.S. 302 (1989) (quoting California v.
Brown, 479 U.S. 538 (1987) (O'Conner, J. concurring) for
proposition that "evidence about the defendant's background is
relevant because of the belief, long held by this society, that
defendants who commit criminal acts that are attributable to a
disadvantaged background, or to emotional and mental problems,
may be less culpable than defendants who have no such excuse")
id. (discussing the significance that mitigating evidence of

childhood abuse and mental retardation have with respect to the

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individualized sentencing determination required by the Eighth
Amendment for imposition of the death penalty); Eddings, 102
S.Ct. at 877 ("evidence of a turbulent family history, of
beatings by a harsh father, and of severe emotional disturbance
is particularly relevant" to an individualized sentencing
determination). Specifically, Mr. Clark's background reveals an
addict for a mother who supported her habit by resorting to
prostitution, exposing him to sexual promiscuity and the common
personality pitfalls of drug usage. A mother who was
incarcerated for significant periods of time fronl Mr. Clark's
first birthday throughout the remainder of his life. A father
who was never around and who utterly failed in his duty to mold
Mr. Clark's character. A_ surrogate father figure who ‘was an
alcoholic and another who physically abused Mr. Clark. A young
man who was brought up in what can be best described as a total
lack of a stable home environment. A young man, who at the age
of 15, was compelled to face the pressures of a world that most
do not face until substantially later in their adult life. This
evidence would have provided some counterweight to evidence of
bad character which was in fact received by the jury. See Blake
v. Kemp. 750 F.2d 523, 535 (11th cir. 1935), cert. denied, 474
U.S. 998 (1985).

Counsels‘ lack of effort at the punishment phase of trial

deprived Mr. Clark of the possibility of bringing out even a

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single mitigating factor. Mitigating evidence clearly would

have been admissible. 'l'he jury would have considered it and

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possibly been influenced by it. Accordingly, Mr. Clark's writ

should be granted, entitling him to a new sentencing hearing.

 

Several courts have found prejudice under similar circumstances. See Dobbs v. Turpin, 142 F.3d
1383, 1389-91 (11th Cir` 1998) (counsei's complete failure to investigate and present mitigating evidence
at the punishment phase was prejudicial where such evidence was available); Smifh v. Stewart, 140 F.3d
1263 (9th Cir. 1998), cert denied 525 U.S. 929 (1998) (counsel's complete failure to investigate and
present any mitigating evidence at the punishment phase was prejudicial where such evidence was
available); Ausn‘n v. Bell, 126 F.3d 843, 848 (6th Cir. 1997), cert denied 523 U.S. 1079 (1998) (failure to
present mitigation evidence was prejudicial where several relatives, friends, death penalty experts, and a
minister were available to testify); Hall v. Washington, 106 F.3d 742, 749 (7th Cir. 1997) cert. denied 522
U.S. 907 (1997) (hoiding defense counsel's performance ineffective and prejudicial at sentencing where
he failed to make a significant effort, based on reasonable investigation and logical argument to ably
present the defendant's fate to the jury and to focus the attention of the jury on any mitigating factors);
Glenn v. Tate, 71 U.S. 910 (1996) (defendant's lawyers inadequate preparation for sentencing phase was
prejudicial where they did not acquaint themselves with defendant's social history, never spoke to any cf
his numerous brothers and sisters, never examined his medical records, or talked to his probation officer);
Tacker v. Day, 969 F.2d 155, 159 (5th Cir. 1992) (prejudicial impact where counsel failed to provide any
assistance at a sentencing hearing); Kubat v. Thierei‘, 867 F.2d 351, 367 (7'th Cir. 1989), cerr. denied, 493
U.S. 874 (1989) (substandard argument and the presentation of no evidence was prejudicial where fifteen
character witnesses were available to testify at the sentencing hearing; and it amounted to no

representation at all).

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2. Trial Counsel's Closing Argument was Ineffective
Because Defense Counsel Demonstrated a Personal
Antipathy Toward Mr. Clark and Abdicated His Role
as an Advocate.

The Sixth Amendment right to counsel "is the right to the
effective assistance of counsel." Strickland, 466 U.S. at 686
(quoting McMann v. Richardson, 397 U.S. 759, 77l n. 14
(1970)(emphasis added) This right is driven by the rationale
that the effective assistance of counsel is necessary to

safeguard the right to a fair trial: "The right to be heard

would be, in many cases, of little avail if it did not

comprehend the right to be heard by counsel.“ Uhited States v.
Cronic, 466 U.S. 648, 654 n. 8 (1984) (quoting Powell V.
Alabama, 287 U.S. 45, 68-69 (1932); see also Kimmelman v.
Mcrrison, 477 U.S. 365, 377 (1986)-("Of all the rights than an

accused person has, the right to be represented by counsel is by
far the most pervasive, for it affects his ability to assert any
other rights he may have.“)

The overarching test for effective assistance of counsel is
whether the defendant's attorney subjected the prosecution's
case to meaningful adversarial testing. Strickland, 466 U.S. at
686 ("the benchmark for judging any' clainl of ineffectiveness
must be whether counsel's conduct so undermined the proper
functioning of the adversarial process that the trial cannot be

relied on as having produced a just resultJW. The right to

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effective assistance of counsel is thus the right of the accused

to require the prosecution's case to survive the crucible of

meaningful adversarial testing. When a true adversarial
criminal trial has been conducted -- even if defense counsel may
have made demonstrable errors - the kind of testing envisioned
by the Sixth Amendment has occurred. But if the process loses
its character as a confrontation between adversaries, the
constitutional guarantee is violated. Chronic, 466 U.S. at 656-
57. The premise of an adversarial system in which the defendant

has an effective advocate for his side "underlies and gives
meaning to the Sixth Amendment. lt is meant to ensure fairness
in the adversary criminal process. Unless the accused receives
effective assistance of counsel, a serious risk of injustice
infects the trial itself." Id. at 655-56.

Effective assistance also requires that an attorney adhere
to his duty of undivided loyalty to his client. Strickland, 466
U.S. at 692. This duty includes acting as a meaningful
adversary vis-a-vis the state.

The right to counsel guaranteed. by the Constitution

contemplates the services of an attorney devoted

solely to the interests of his clientm. And nowhere is

this service more honorable than in a case of

appointment to represent an accused too poor to hire a

lawyer, even though the accused may be a member of an

unpopular or hated group, or may be charged with an
offense which is particularly abhorrent.

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Osborn v. Shillinger, 861 F.2d 612, 624-25 (101211 Cir. 1988)
(quoting Von Molt}<:e v. Gillies, 332 U.S. 708, 725-26 (1948)).
Thus the duty of loyalty is violated not merely when counsel
represents clients who have conflicting interests, but also when
counsel acts more for the benefit of, and with more apparent
sympathy toward, the prosecution than the client he is
defending. See id. at 625 (quoting Cronic, 466 U.S. at 6661
("an attorney who adopts or acts on a belief that his client
should be convicted ‘fail[s] to function in any meaningful sense
as the Government's adversary. '")

Here, the most egregious errors and omissions by trial
counsel Cannot be explained solely by a failure to investigate
Mr. Clark's case but rather point to counsel's failure to act as
a diligent and loyal advocate for his client. "An effective
attorney 'must play the role of an active advocate, rather than
a mere friend of the court.‘" Osborn, 861 F.2d at 624 (quoting
Evitts v. Lucey, 469 U.S. 387, 394 (1985); see also C'rcnic, 466
U.S. 648, 656-57 ("if the process loses it character as a
confrontation between adversaries, the constitutional guarantee
is violated."). Indeed, as was stated in Osborn, the duty of
loyal advocacy is more vital to effective assistance than the
absence of third party conflicts of interest:

[Aln attorney Who is burdened by a conflict between

his client's interests and his own sympathies to the
prosecution's position is considerably worse than an

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attorney with loyalty to other defendants, because

interests of the state and the defendant are

necessarily in opposition.
Id. at 629.

If any doubt remains that Mr. Clark's counsel was
ineffective at the penalty' phase, it is erased by counsel's
closing argument. An argument which was interrupted by the
trial judge who voiced concerns that trial counsel was "trying
to create some kind of reversible error . . . by saying that you
[Mr. Clark's counsel] did not care. . . [by] keep [repeating]
that you don't care what they [the jury] do basically." RR(58,
32). The relevant portions of the closing argument by Mr.
Clark's counsel are as follows:

MR. NASH: 1 guess about 9 p.m. yesterday evening after
about my fifth beer, 1 asked Mr. Mims. l'm scratching my head
now wondering why 1 asked that. 1 don't have a whole lot to say
to you guys. There's not a whole lot of good things 1 can say
about Troy Clark either. And perhaps at this stage, you're no
too interested in what I've got to say. 1 don't have a whole
lot to say. But 1 was wondering after that spectacle yesterday
evening, where are we? Was Troy Clark getting up on that
witness stand the very last moments of the evening taunting you
and. manipulating you. to give hinl a death_ sentence or did. he
actually give up? 1 don't know - and at this point 1 don't

really care, to tell you the truth. Because 1‘m not sure it

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makes a whole hell of a lot of difference. If anything 1 say to
you, you don't agree with, that's fine.

We've been through a lot together the past two weeks. 1
saw the evidence that came out. l'm not going to fuss at your

verdict. lt really didn't surprise me a whole lot with all that

evidence with all of that what? Two weeks of testimony. That
really didn't surprise me a whole lot. I'm not going to fuss at
you.

We spent what three days in punishment starting Monday. We
didn't parade any character witnesses up here and tell you he's
not such a bad guy. You know, we couldn't find a single
relative that would say those kind of things. Where did that
leave us? Where are we left? You know, in all irony, the only
one who professed any type of regard for him was Tory Gene Bush.
Some type of love I'll never fathom. Who probably single
handedly will send him to death row but still loves him. Don't
ask me to explain it. 1 haven't a clue. It‘s very possible you
don't like Troy Clark after all you've seen, after all you've
heard and, you know, 1 really don't care at this point, 1 really
don*t care. Because you know if that's your sentiment, 1 share
it. To say that this has been a pleasure, to say, suggest that
this has been an easy case to defend would be highly

disingenuous. Troy Clark has probably been the most difficult

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client I've ever‘ had. to represent. In. fact, he is the most
difficult client I've ever had to present.

THE COURT: Let me ask the attorneys approach the bench,
please. Now, you‘re testifying. Are you trying to create some
kind of reversible error?

MR. NASH: No, Your Honor.

THE COURT: By saying you don't care? ls this a
strategical move?

MR. NASH: No, Your Honor.

MR. CLARK: Your Honor, Can 1 fire him?

MR. NASH: That‘s not where I‘m going.

THE COURT: You keep saying you don't care what they do
basically. 1 mean l don't understand the strategy here. If
you‘re trying to create some kind. of reversible error' by' not
giving him a fair argument on sentencing, 1 can't allow that to
go on.

MR. NASH: If you'll let me finish.

THE COURT: All right. See where you're going.

RR(EB, 30-32)

MR. NASH: You know, when Troy got up on the witness stand
and if you think that's taunting or you think he gave up, either
way it is for you to decide. The thing is, you decide. It's

not Troy Clark's decision of whether or not he gets death or

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life. It falls to you. 1f you think he was trying to
manipulate you, taunt you, dare you to sentence him to life,
well, if that's the opinion you raised, you can call his bluff
and find that the evidence will support the answers that would
dictate a death sentence, then that's your judgment.

RR(BS, 33-34)

As stated previously, Mr. Clark's counsel failed to
introduce any' mitigating evidence at the punishment phase of
trial. Trial counsel then proceeded to make a closing argument
to the jury that was not simply weak; it constituted an apology
for having served as Mr. Clark's counsel. In his argument,
trial counsel effectively distanced himself from his client and
communicated to the jury' that his presence was an_ obligatory
part of the .American systen\ of justice. 1n effect, counsel
separated himself from his client, conveying to the jury that he
had reluctantly represented a defendant who had committed a
reprehensible crime. “[R]eminding a jury that the undertaking
is not by choice, but in service to the public, effectively
Stacks the odds against the accused." Goodwin V. Balkcom, 684
F.2d 794, 806 (llth Cir. 1982). Rather than attempting to
humanize Mr. Clark, counsel in his closing argument stressed the
inhumanity of the crime.

Counsel's closing argument also failed to focus the

sentencing jury's attention on "the character and record of the

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individualized offender and the circumstances of the particular
offensem.“ Penry, 492 U.S. at 316 (citing Wbodson, 428 U.S. at
304); see also Armstrong, 833 F.2d at 1433 ("[Petitioner'sl
trial counsel failed to provide the jury with the information
needed to properly focus on the particularized characteristics
of this petitioner.“). Also, counsel never asked the jury to
have mercy on Mr. Clark, to spare Mr. Clark's life or to
sentence Mr. Clark to life imprisonment. Instead, he merely
asked the jury to impose a sentence with which they could live.
This failure also demonstrates deficient performance. See,
e.g., Hcrton v. Zant, 941 F.2d 1449, 1462 (11th Cir. 1991), cert
denied 503 U.S 952 (1992) (holding that a sentencing argument
that included "[mlaybe [the defendant] ought to die, but 1 don't
know" to be inadequate). ln the instant case, counsel's
argument effectively relieved the jury of any doubt or anguish
it might feel in sentencing Mr. Clark to death. Accordingly,
counsel's argument resulted in the "breakdown in the adversarial
process that our systenl counts on to produce just results."
Strickland, 466 U.S. at 696.

Counsel's punishment argument could have taken no more than
5 minutes to present. He cannot be said, under any standard, to
have done a competent job in the brief time he spent. At times,
counsel expressed empathy with the prosecution and resignation

that he would not be able to persuade the jury in any event. At

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others, he made comments that do not appear relevant to any
conceivable issue in the case. 1n the context of the rest of
his sometimes disoriented argument, counsel seems to have been
free-associating or saying whatever came into his mind at the
moment. The argument smacks of lack of preparation and
organization. Counsel was, as some like to put it, simply
talking out loud or talking off the top of his head. In this
case he unfortunately failed to consider what effect that
undisciplined exercise might have on the jury's deliberations.
Counsel‘s argument told the jury that it need not be
concerned about the awesome function it was performing. Thus,
counsel removed the chief obstacle to n©st jurors1 willingness
to vote for a death sentence --- individual conscience and the
fear that an error in judgment may led to the wrongful taking of
another person's life. As a result, counsel violated the most
basic duty of a defense attorney in a capital case: to seek as
zealously as possible within the bounds of the law to prevent
the defendant from being executed.
3. The Cumulative Effect of the Failure to
Investigate and Present Mitigating Evidence and
Counsel's Deficient Closing Punishment Argument
is in Itself a 'Violation of Mr. Clark's
Constitutional Rights.
If trial counsel's failure to investigate and present

mitigating evidence and trial counsel's deficient closing

punishment argument do not independently result in a violation

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of Mr. Clark‘s constitutional rights, the cumulative effect of
these deficiencies certainly deprived Mr. Clark of his
constitutional rights as guaranteed. by' the Texas Constitution
and the Sixth, Eighth and Fourteenth Amendments to the United
States Constitution.

The combination of trial counsel*s deficient performance
constructively denied Mr. Clark any defense at all in the
penalty' phase of trial. Clearlyg Mr. Clark. would have been
prejudiced if the trial court had not permitted him to put on
mitigating evidence at the penalty phase, no matter how
overwhelming the State's showing' of aggravating circumstances.
"Actual or constructive denial of assistance of counsel
altogether is legally presumed to result in prejudice."
Strickland, 466 U.S. at 692. "Prejudice in these circumstances
is so likely that a case-by~case inquiry into prejudice is not
worth the cost.

Counsel's lack of effort at the punishment phase of trial

deprived Mr. Clark of the possibility of bringing out even a

single mitigating factor. Mitigating evidence would have been
admissible. The jury would have considered it and possibly been
influenced by it. Accordingly, a reasonable probability exists

that Mr. Clark's sentence would have been less severe had the
jury balanced the aggravating and mitigating circumstances,

particularly in light of the fact that the jury ultimately

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sentenced him to death. As a result, Mr. Clark has shown that
he was substantially prejudiced by his trial counsel's complete
failure during the punishment phase. See, Milburn v. State, 15
S.W.3d 267 (Tex. Crim. App. 2000); EX parte Felton, 815 S.W.2d
733, 737 n. 4 (Tex. Crim. App. 1991).
4. Trial Counsel was Ineffective During the
Guilt/Innocence Portion of Trial for "Opening the
Door" and Allowing Extraneous Evidence of Another
Murder Alleged to Have Been Committed By Mr.
Clark.
5. Introduction of Extraneous Evidence of Another
Murder Alleged to Have Been Committed By Mr.
Clark During the Guilt/Innocence Stage of His
Trial Resulted in a Deprivation of Due Process.
BACKGROUND
Mr. Clark had originally been indicted for two different
offenses, the instant case involving the death of Christina Muse
and another case involving the death of one Tracy Mize Socia.
Prior to trial, defense counsel filed a Motion in Limine seeking
to preclude the State from introducing evidence regarding the
Mize murder case. Said motion was granted by the trial court.
RR(33,28) Thereafter, while Tory Bush was testifying during the
guilt/innocence portion of Mr. Clark's trial, the following
occurred:

Prosecution: What letters did he want you to write about

the Christina Muse situation?

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Ms. Bush: He wanted me to change the whole story. He
wanted me to lay the blame on two other people, and those two
other people are dead.

Prosecution: m without going into who the other two people
are, he wanted you to take the blame completely away from him
and you?

Ms. Bush: Yes. Well, it wouldn't have took it
completely away from me.

RR(4l, lOl)

Mr. Clark's counsel then cross~examined Ms. Bush concerning
the various versions of events she had previous given to law
enforcement officials.

Defense: All right. And on that date, who did you

say was involved in that killing.

Ms. Bush: 1 think 1 said Tracy Mize was.

Defense: Tracy Mize. Tell us exactly what you told
him.

Ms. Bush: 1 can't tell you. 1 lied.
RR(41, 141}

Mr. Clark's counsel then went on to establish that Tracy
Mize had helped dispose of Muse's body and that Ms. Bush had
entered into an agreement wherein she would cooperate and assist
in the prosecution of Tracy Mize. In exchange for her

cooperation, Ms. Bush would be sentenced to thirty years. RR(41,

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142) Mr. Clark's counsel then established through Ms. Bush that
while they were searching for the body of Christina Muse they
found Tracy Mize‘s body instead. RR (41,142) This was the first
mention of Mr. Mize's death and it was brought about by' Mr.
Clark's own counsel. In essence, Mr. Clark's counsel violated
its own motion in limine.

The State then argued that the door had been fully opened
to show Mr. Clark's alleged involvement in the death of Tracy
Mize. RR (41,148) The trial court allowed Ms. Bush to testify
regarding her purported knowledge of the facts of Mize murder,
holding that the relevance of the testimony went to her
credibility. RR (41,159)

Tory Bush was then allowed to testify regarding the murder
of Mr. Mize and Mr. Clark's purported involvement in his death.
She testified that immediately before his murder, Mr. Mize and
Mr. Clark traveled to Houston. That shortly after returning,
she and Mr. Clark went out to a trailer located on Ms. Young's
property. That when Mr. Clark opened the door to the trailer,
Mr. Mize was sitting inside with. his hands cuffed together.
RR(42, 27-29) The State then called additional witnesses who
testified that the body of Tracy Mize was found in a septic tank
in close proximity to where Ms. Muse‘s body was ultimately

found. The State also called a DPS firearms examiner to testify

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that the bullets recovered fronl the body' of Tracy' Mize were
consistent with those fired from Mr. Clark's gun.
DISCUSSION

Had Mr. Clark's counsel not opened the door to admission of
this extraneous offense, it is clear that evidence surrounding
the death of Mr. Mize would not have been admissible during the
guilt/innocence portion of trial. It has long been held that
evidence of other crimes or bad acts are not admissible to show
the accused acted in conformity with that evidence in committing
the crime for which. he is charged. M'ontgomeryr v. State, 810
s.w.2<i 372 (Tex. crim. ipp. 1990)

lt is equally clear that there could be no conceivable
valid strategic trial strategy for defense counsel to open the
door to this evidence. If trial counsel's strategy‘ was to
impeach Ms. Bush by showing that she had previously lied in her
statements to law enforcement officials, that objective was
reached when she responded tx) a question by the State during
direct examination that she had previously given a statement and
that the statement was untrue. RR (41,141) Thus, trial counsels'
performance was deficient when they opened the door to
introduction of evidence concerning the murder of Tracy Mize.

There can be no doubt that Mr. Clark was prejudiced. by
introduction of this extraneous evidence. This was not a case

with overwhelming evidence of Mr. Clark's guilt. There was no

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physical evidence clearly linking Mr. Clark with the commission
of the offense. There were no fingerprints, no DNA evidence and
no testimony conclusively establishing that the duct tape used
to restrain Ms. Muse and the concrete found covering her body
were the same that had been in Mr. Clark's possession.

Accordingly, Mr. Clark's writ should be granted.

5. Trial Counsel was Ineffective During the
Guilt/Innocence Portion of Mr. Clark's Trial for
Allowing Extraneous Evidence of the
Kidnapping/Assault of Wesley Crocker to be
Admitted.

6. Introduction of Extraneous Evidence of the
Kidnapping/Assault of Wesley Crocker During the
Guilt/Innocence Stage of Mr. Clark's Trial

Resulted in a Deprivation of Due Process.

BACKGROUND

During the guilt/innocence portion of trial, Amber
Scroggins testified that she had seen a stun gun at Mr. Clark's
residence. Without an objection by the defense attorneys, Ms.
Scroggins was also allowed to testify that Mr. Clark had bragged
about using the stun gun on Wesley Crocker. RR(35, 29) As a
direct result of trial counsels' omission, Wesley Crocker was
allowed_ to testify' regarding an extraneous incident involving
Mr. Clark.

Mr. Crocker testified that he owed Mr. Clark money for
drugs. When he did not timely pay his debt, Mr. Clark arranged

for two other individuals to abduct him and bring him to a shop

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owned by Mr. Clark's cousin. When Mr. Crocker arrived at the
shop, Mr. Clark hit him with a tire iron and shocked him
repeatedly with a stun gun. RR (36, 35~92)

Mr. Clark then took Mr. Crocker home and continued the
assault by hitting Mr. Crocker with a wire brush and using the
stun gun again. During the period of the second assault, Mr.
Clark made the statement "it's tough not knowing whether your
going to live or die“. RR (36, 93-97) Ultimatelyy Mr. Clark
released Mr. Crocker with the understanding that he would work
off his debt by assisting in the remodeling of Mr. Clark's home.
RR (36, lOl)

DISCUSSION

Trial counsels' failure to object to Ms. Scroggins
testimony that she had_ previously' heard. Mr. Clark. brag about
using the stun gun on Mr. Crocker led directly to the admission
of testimony concerning this extraneous offense from Mr. Crocker
himself. Trial counsel was clearly deficient in this regard.

Admission of this testimony not only established Mr. Clark
had a propensity for violence, it also established a pattern of
use of the stun. gun. by' Mr. Clark. This fact is critically
important considering that a stun gun was used during the murder
of Ms. Muse. Thus, there can. be no doubt that Mr. Clark's
defense suffered prejudice as a result of trial counsel's

deficient performance. As stated previously, this was not a

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case with overwhelming evidence of Mr. Clark's guilt. There was
no physical evidence clearly linking Mr. Clark with the
commission of the offense. Accordingly, Mr. Clark's writ should
be granted.

7. Trial Counsel was Ineffective for Failing to
Object and Request an Immediate Curative
Instruction Relating to the Trial Judge's
Improper Comment on Mr. Clark's Credibility.

8. Mr. Clark was Denied His Due Process Right to a
Fair Trial When the Trial Judge Made an Improper
Comment on Mr. Clark's Credibility.

BACKGROUND
During the guilt/innocence portion of trial, Mr. Clark
elected. to testify' on his own. behalf. On cross-examination,
while the prosecution was inquiring about Mr. Clark's
whereabouts after Ms. Muse's disappearance, the following
transpired:

Prosecution: Did you ever see her again after you drove

out of the driveway?

Mr. Clark: No, sir.

Prosecutor: How long were you gone over to Blue's?

Mr. Clark: I couldn't tell you no time. I mean,
estimate three to four hours. I wasn't just at Blue's. You

know, I had stopped by a few other friends' house.
Prosecutor: Delivering drugs?

Mr. Clark: Yeah.

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Prosecutor: Whose house did you stop at? You‘re looking
up there?

Mr. Clark: § don't want to get nobody in trouble, but I
guess I've got to tell the truth.

The Court: Yeah. You're supposed to.

RR (47, 126-27)

At this point the jurors, counsel and other spectators
burst into laughter. Mr. Clark's counsel not only failed to
object to the trial judge‘s comment, they also failed to request
an immediate curative instruction.

DISCUSSION

The rule in Texas governing discussion of evidence by the

trial court is as follows:

In ruling upon the admissibility of

evidence, the judge shall not discuss or

comment upon the weight of the same or its

bearing in the case, but shall simply decide

whether or not it is admissible; nor shall

he, at any stage of the proceeding previous

to the return of the verdict, make any

remark calculated to convey to the jury his

opinion of the case.
Tex.Code Crim.Proc. Ann. Art. 36.05. In enacting this provision,
the Legislature recognized the fact that the position. of the
trial judge carries great influence and that his opinion is

naturally received by juries with deference. In order to guard

against an invasion by the judge of the province of the jury in

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determining the credibility of the witnesses and the weight to
be given to their testimony, the statute was enacted.

Thus, it has long been a well established rule in the State
of Texas that a trial judge should studiously avoid making any
remark calculated to convey to the jury his opinion of the case
or of any fact issue raised by the evidence. McClory v. State,
510 S.W.Zd 932, 934 (Tex. Crim. App. 1974). This rule is true
because jurors are prone to seize with alacrity upon any conduct
or language of the trial judge which they may interpret as
shedding light upon his view of the weight of the evidence, or
the merits of the issues involved. Jones v. State, 788 S.W.Zd
834, 836 (Tex. App. - Dallas 1990, no pet.).

Reasonably professionally competent counsel would have been
familiar' with. this rule and. the effects such. a comment would
have on the jury in determining the credibility of an accused.
Thus, trial counsel's failure to object to the judge's comment
was deficient performance. Moreover, it cannot be argued that
the court's charge cured the error. “[T]o be effective, an
instruction to disregard must immediately follow the comment and
not await the reading of the charge. . .because a trial judge's
improper comment on the weight of the evidence, not at once
ordered to be disregarded by the judge's command, festers in the
jury's mind so as to increasingly benefit the State as the trial

progresses and so as to increasingly prejudice the defendant as

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the trial progresses. Bachus v. State, 803 S.w.2d 402, 406-7
('I`ex. App. - Dallas 1991). Indeed, although federal trial
judges have the right to comment on the evidence, there are
limitations see suited states v. nillon, 446 F.2d 598, 601 (5th
Cir. 1971) Where the federal trial court exceeds those
limitations in its charge, the prejudicial effect of the charge
cannot be cured by the court further instructing the jury in the
charge that assessment of credibility of the witness was their

exclusive function. See Dillon, 446 F.2d at 60]_.2

 

2 The seminal case stating this principle is Quercia v. United Srates, 289 U.S. 466, 469 (1933), in
which the Suprerne Court held: "It is within [the judge's] province . . . to assist the jury in arriving at a
just conclusion by explaining and commenting upon the evidence. . . ." The Court reversed the
defendant's conviction because the trial judge's observation that a witness wiping his hands while
testifying was almost always an indication of lying was "a sweeping denunciation repudiat[ing] as a lie all
that the accused had said in his own behalf. . . . This was error and we cannot doubt that it was highly
prejudicial." Id. at 472. The Court added:

Nor do we think the error was cured by the statement of the trial judge that his opinion of

the evidence was not binding on the jury and that if they did not agree with it they should

find the defendant not guilty. His definite and concrete assertion of fact . . .was not

withdrawn His characterization of the manner and testimony of the accused was a sort

most likely to remain firmly lodged in the memory of the jury and to excite a prejudice

which would preclude a fair and dispassionate consideration of the evidence.

Id.

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9. The Cu.mulative Effect of the Violations of Mr.
Clark's Rights is in Itself a Violatidn of Mr.
Clark's Constitutional Rights.

The cumulative effect of state and federal constitutional
and statutory infirmities in the trial of Mr. Clark's case as
set forth above is itself a violation of Mr. Clark's
constitutional rights as guaranteed. by the Texas Constitution
and the Fifth, Sixth, Eighth and Fourteenth Amendments to the
United States Constitution.

WHEREFORE, Mr. Clark prays that this Court:

1. Issue a writ of habeas corpus vacating his unlawfully
obtained conviction and sentence;

2. Grant him a full and fair evidentiary hearing on all
claims raised by this Petition;

3. Grant him full and complete discovery' pending said
evidentiary hearing, such discovery to include, but not limited
to, the contents of the District Attorney's files in his case
and the right to take depositions and to obtain subpoenas for
witnesses and documents necessary to the resolution of the
claims raised herein;

4. Grant Mr. Clark such other and further relief as may

be just and proper.

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Respectfully submitted,

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STATE OF TEXAS
COUNTY OF BOWIE

AFFIDAVIT OF VERIFICATION

 

Before me, the undersigned authorityy on. this day
personally appeared Craig L. Henry who, being duly sworn, stated
as follows:

"My name is Craig L. Henry. I represent Troy Clark. l
I have communicated with Mr. Clark and I am authorized §
to state on his behalf that it is his desire to have a

full and complete review at all federal courts of

every issue that might result in. a reversal of his

conviction and sentence of death.

I have read the foregoing Application for Writ of
Habeas Corpus. l am familiar with the factual matters
set forth therein and they are, according to my
information, knowledge and belief, true, correct and
accurate.11

FURTHER AFFIANT SAYETH NOT.

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ff%§/

jgeig L./Héhfy

Subscribed and sworn to before me this 2’“‘:1 day of March,

2004.

 

Nota fy Public

Certificate of Service
I certify that the foregoing pleading was served upon the
Office of the Attorney General of the State of Texas,
Postconviction Litigation Division, by delivering a copy to Deni
S. Garcia, Assistant Attorney General, P.O. Box 12548 Capitol

Station, Austin, Texas 78711, this Tm day of March, 2004.

47%2//

cZi€L. Hen¥
C sel for Applicant

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EXHIBITS NOT SCANNED

 

 

 

ORIGINALS ARE IN TP ‘*

 

CLERK’S OFFICE

